Case 2:02-Cr-20165-BBD Document 536 Filed 06/13/05 Page 1 of 3 Page|D 660

 

 

§
IN THE UNITED STATES DISTRICT COURT mac Bv.... ~%.___“o.c.
FOR THE WESTERN DISTRICT OF TENNESSEE
WEsTERN DIVISION 05 JUN f 3 PH 2= 05
UNITED sTATEs 0F AMERICA RO»~ " 9 D* 551 0
<:¢_Em< u s nlsr. cr
OF TN MEMPH:<_;
v. No. 2:02 cr 20165 D/A
Judge Bernice Donald
ALVIN MOSS, et al
oRl)ER T0 UNSEAL RECORD

 

Upon oral motion of the defense and for good cause shown, it is hereby ORDERED that

the clerk shall unseal the flle in the case of United States of America v. Milton Strassberg, No.

2 :99-cr-20229-G.

This /O& day ofJ'une 2005.

CMM

Bernice Donald, Judge
United States District Court

Hamcq
T'nls document entered on the docket shee/t`\§nm comp

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